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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_________________________________

HUDA SAAIDI,

                       Plaintiff ,                     1:08-cv-1096
                                                       (GLS/DRH)
                 v.

CFAS, LLC, individually and d/b/a EDIFI;
and JOHN BRAAT,

                  Defendants.
_________________________________

APPEARANCES:                               OF COUNSEL:

FOR THE PLAINTIFF:
Akin, Smith Law Firm                       DEREK T. SMITH, ESQ.
305 Broadway, Suite 1101                   ISMAIL S. SEKENDIZ, ESQ.
New York, NY 10007

FOR THE DEFENDANTS:
Hodgson, Russ Law Firm                     NOREEN D. GRIMMICK, ESQ.
677 Broadway, Suite 301
Albany, NY 12207-2884

Gary L. Sharpe
District Court Judge


                MEMORANDUM-DECISION AND ORDER

                              I. Introduction

      Plaintiff Huda Saaidi commenced this action against defendants
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CFAS, LLC, individually and doing business as EDIFI (EDIFI), and John

Braat, alleging employment-related gender discrimination and unlawful

retaliation under Title VII of the Civil Rights Act of 1964,1 the New York

State Human Rights Law (NYSHRL),2 and the Administrative Code of the

City of Albany.3 (See Compl., Dkt. No. 1.) Pending is defendants’ motion to

dismiss or, in the alternative, for summary judgment. (Dkt. No. 25.) For

the reasons that follow, the motion to dismiss is denied, and the motion for

summary judgment is granted in part and denied in part.

                                      II. Background

       EDIFI is a company “in the business of providing consulting services

concerning college financial aid to families.” (See Grimmick Aff., Ex. F,

Employment Agreement at 1, Dkt. No. 25:9.) On February 26, 2006, EDIFI

hired Huda Saaidi as a “sales counselor.” (See Defs. SMF ¶ 1, Dkt. No.

25:3.) As a sales counselor, Saaidi would spend weekends in various

locations throughout the United States selling EDIFI’s services to college-

bound students and their families. (See Def. Mem. of Law at 1, Dkt. No.


        1
         42 U.S.C. § 2000e, et seq.
        2
         N.Y. EXEC. LAW §§ 290, et seq.
        3
        Saaidi has agreed to withdraw her claims under the Administrative Code of the City of
 Albany. (See Pl. Mem. of Law at 4, Dkt. No. 29.) Accordingly, those claims are dismissed.

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25:32.) Under Saaidi’s employment agreement, Saaidi was “paid a ‘draw’

plus a commission based upon the number of sales [she made].” (See

Defs. SMF ¶ 4, Dkt. No. 25:3.)

      Saaidi alleges that soon after beginning her employment with EDIFI,

she was “subjected to numerous acts of sexual harassment and

discrimination based on her gender, creating a hostile work environment,

and unlawful retaliation.” (Compl. ¶ 22, Dkt. No. 1.) Saaidi claims she was

first harassed by another EDIFI employee, Bradley Culkin, during a

February 2006 business trip. (See id. at ¶ 23.) According to Saaidi, “after

learning that [she] was hungry but afraid to leave the hotel at night by

herself,” Culkin “lur[ed her] to his hotel room under the guise of having food

in his room,” and told her “you are my kind of girl and you and me are going

to fuck one day.” (Id.) Saaidi also claims that Culkin continued the

harassment during another business trip “some time in 2007,” when “he

kissed [her] forehead” after she declined his offer “to join him and other

employees at the hotel pool for drinks.” (Id. at ¶ 24.) According to Saaidi,

she responded to his advances by stating: “It is never going to happen.

You need to stop because this is making me uncomfortable.” (Id. at ¶ 25.)

      Saaidi further alleges that two other EDIFI employees, John

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Lockwood and Ryan Vaughn, also engaged in sexually harassing conduct.

(See id. at ¶¶ 26-29.) As to Lockwood, Saaidi claims that while on a

business trip in March 2006, he “made sexual advances toward [her] by

hugging and kissing [her],” and “asked [her] if she was cold and

inappropriately put his arm around her.” (Id. at ¶¶ 26, 27.) Saaidi also

alleges that Lockwood “insisted on walking [her] to her hotel room after she

mentioned she was tired,” and, once there, “kissed her hand.” (Id. at 28.)

As to Vaughn, Saaidi contends that he touched her in a sexually

inappropriate manner during a July 7, 2006 bus trip. (Id. at ¶ 29.)

According to Saaidi, she, Lockwood, and Vaughn “were engaged in

flirtatious behavior” when “Vaughn took it further by putting his hand around

[Saaidi’s] waist and squeezed her thigh in a sexually inappropriate

manner.” (Id.; see also Pl. Mem. of Law at 1, Dkt. No. 29.) As to Saaidi’s

participation in the “flirtatious behavior,” defendants allege that Saaidi “sat

on [Vaughn’s] lap, placed her hands inside his pants, and started to kiss

and lick his neck as the bus proceeded through a tunnel.” (See Def. SMF ¶

17, Dkt. No. 25:3.)

      On August 5, 2006, Saaidi verbally complained to her direct

supervisor, Frank Merola, about Lockwood and Vaughn’s behavior. (See

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Compl. ¶ 30, Dkt. No. 1.) In an e-mail dated August 9, 2006, Merola

relayed Saaidi’s complaint to Stacey Connors, EDIFI’s Human Resources

representative. (See Def. SMF ¶ 16, Dkt. No. 25:3.) In addition, both

Lockwood and Vaughn filed their own complaints against Saaidi, each

alleging that Saaidi initiated contact with them and that they were sexually

harassed by her. (See id. at ¶¶ 17, 18.)

       At some point after the complaints were filed, Saaidi requested that

EDIFI alter her schedule so that she would not have to work with

Lockwood or Vaughn, explaining that working with either would cause her

“anxiety and stress.” (See id. at ¶ 22; Pl. Mem. of Law at 2, Dkt. No. 29.)

According to Saaidi, however, EDIFI ignored her schedule request and

purposefully scheduled her to work with Lockwood and Vaughn, allegedly

“in retaliation for her complaint, and in an effort to further harass [her].”

(See Pl. Counter SMF ¶ 23, Dkt. No. 29:6; Pl. Mem. of Law at 2, Dkt. No.

29.)

       Based on Saaidi, Lockwood, and Vaughn’s complaints, EDIFI

undertook an investigation pursuant to its sexual harassment policy. (See

id. at ¶ 19.) The investigation was conducted by John Braat, EDIFI Chief

Operations Officer, and Maura Kastberg, EDIFI Vice President. (See id. at

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¶ 20.) In September 2006, at the conclusion of the investigation, EDIFI

“admonished all three parties, including [Saadi], for their conduct and

warned them to comply with company policies regarding employee conduct

and sexual harassment in the future.” (Id. ¶ 21.)

       According to Saaidi, EDIFI’s investigation was improperly handled.

First, Saaidi claims that Braat and Kastberg “intimidated and coerced” her

into “sign[ing] a false form containing lies that she ... instigated sexual

harassment towards Lockwood and ... Vaughn.” (See Pl. Mem. of Law at

2, Dkt. No. 29.) Second, Saaidi contends that she was “belittled and

badgered for ‘being in the wrong,’” and that she “was implicitly threatened

with termination if she did not sign the statement.”4 (See id.) And third,

Saaidi alleges that although “[she] identified a witness that could

corroborate her statements and version of the incidents that were being

investigated, ... [EDIFI] made no effort to interview [the] witness[].” (Id.)

       Saadi further alleges that EDIFI’s unlawful treatment extended

beyond Braat and Kastberg’s investigation. Specifically, Saaidi claims that

beginning in August 2006, she “was treated in a disparate manner in


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         While it is not clear from Saaidi’s submission, it appears that the “false form” and
 “statement” refer to the form Saaidi signed in acknowledgment of receiving the September
 2006 disciplinary notice.

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retaliation for her having filed a sexual harassment complaint with her

supervisor.” (Id.) She contends that EDIFI began “to deny [her] expense

reports claims,” “to overly criticize [her] work when there was no apparent

reason for such criticism,” and “to restrict [her] ability to attend various

venues/events by not allowing [her] to fly out of Michigan airports.” (Id. at

3.) Saaidi also claims that Merola would “proffer unsubstantiated

conclusions regarding [her] demeanor or work ethic, such as consistently

ask [her] why she wasn’t enthusiastic or why she didn’t like her job,” and

that he “would attend [her] presentations and stand or stare in a

threatening manner in an effort to intimidate [her].” (Id.) In addition, Saaidi

alleges that EDIFI improperly excluded her from attending various sales

events on the basis of her low sales numbers, and that this exclusion

resulted in a “significant” reduction in her earnings. (See id.; Grimmick Aff.,

Ex. E, Pl. Dep. at 336-338, Dkt. No. 26:8.) According to Saadi, while she

was repeatedly told that she could not attend these events until her sales

numbers improved, employees with lower sales figures were, without

explanation, sent in her place. (See Pl. Mem. of Law at 4, Dkt. No. 29.)

Furthermore, Saaidi also claims that she complained to Merola of

retaliatory conduct, but was told not to bring it up because “[Braat] would

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see [her] as a troublemaker.” (See id. at 2.)

      In March 2007, Saadi was granted an educational leave of absence

from her employment with EDIFI. (See Defs. SMF ¶¶ 24, 25, Dkt. No.

25:3.) In August 2007, Saadi requested reinstatement with EDIFI and was

rehired as a sales counselor soon thereafter. (See id. at ¶ 26, 27.) Then,

on December 13, 2007, Saaidi filed a complaint with the Equal Opportunity

Employment Commission (EEOC) and the New York State Division of

Human Rights, alleging unlawful retaliation. (See id. at ¶ 28.) In her

complaint, Saaidi claimed that as a result of her 2006 complaint of sexual

harassment, she was “falsely accused of sexual harassment and other

wrongdoing,” and that “she was not being regularly scheduled for venues

upon return from [her] leave of absence.” (Grimmick Aff., Ex. U, EEOC

Compl. at 1, Dkt. No. 25:24.) Saaidi also stated that “although [she] was

scheduled for a venue on 10/20-21/2007, [she] was denied attendance at

five sessions, severely limiting her sales potential,” and that she “believe[d]

that management [was] trying to force [her] to quit.” (Id.)

      Saaidi alleges that similar retaliatory treatment persisted after the

filing of her EEOC complaint. Saaidi claims, for instance, that in March

2008, Merola continued to tell her that she would not be sent on sales

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events until her numbers improved. (See Pl. Mem. of Law at 4, Dkt. No.

29.) In Saaidi’s view, Merola’s explanation in this regard was pretextual

since “she could not get her ‘numbers up’ unless she attended [the sales

events].” (See id. at 3-4)

      Ultimately, in April 2008, Saaidi left her employment with EDIFI and

applied for unemployment benefits. (See Defs. SMF ¶ 35, Dkt. No. 25:3;

Compl. ¶ 45, Dkt. No.1.) Then, on July 28, 2008, Saadi received a “right to

sue” letter from the EEOC. (See Grimmick Aff., Ex. BB, Right to Sue

Letter, Dkt. No. 25:31.) On October 14, 2008, Saaidi commenced this

action against EDIFI and Braat, alleging claims of hostile work

environment, constructive discharge, and unlawful retaliation, all under Title

VII and the NYSHRL. (See Compl., Dkt. No. 1.) Defendants now move to

dismiss Saaidi’s complaint and for summary judgment. (See Dkt. No. 25.)



                         III. Standards of Review

      The standards for judgment pursuant to Federal Rules of Civil

Procedure 12(b)(6) and 56 are well established and will not be repeated

here. For a full discussion of the standards, the court refers the parties to

its previous opinions in Ellis v. Cohen & Slamowitz, LLP, 701 F. Supp. 2d

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 215, 217-18 (N.D.N.Y. 2010) (Rule 12(b)(6)); and Bain v. Town of Argyle,

 499 F. Supp. 2d 192, 194-95 (N.D.N.Y. 2007) (Rule 56). In the fact-

 intensive context of a discrimination action, “direct evidence of

 discriminatory intent is rare and such intent often must be inferred from

 circumstantial evidence found in affidavits and depositions.” Holtz v.

 Rockefeller & Co., 258 F.3d 62, 69 (2d Cir. 2001); see also Gallo v. Gallo v.

 Prudential Residential Servs., Ltd. P’ship, 22 F.3d 1219, 1224 (2d Cir.

 1994) (“A trial court must be cautious about granting summary judgment to

 an employer when ... its intent is at issue.”).

                                 IV. Discussion

 A.    Motion to Dismiss

       Defendants first move to dismiss Saaidi’s complaint pursuant to Rule

 12(b)(6), arguing that Saaidi’s “claim for relief is not plausible.” (See Defs.

 Mem of Law at 7-10, Dkt. No. 25:32.) Having reviewed the complaint, the

 court disagrees and denies defendants’ motion to dismiss. However,

 because “individuals are not subject to liability under Title VII,” Wrighten v.

 Glowski, 232 F.3d 119, 120 (2d Cir. 2000) (per curiam) (citation omitted),

 the court dismisses sua sponte Saaidi’s Title VII claims against Braat, see

 Patterson v. County of Oneida, N.Y., 375 F.3d 206, 221 (2d Cir. 2004); see

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 also, e.g., Hooda v. Brookhaven Nat’l Lab., 659 F. Supp. 2d 382, 390

 (E.D.N.Y. 2009) (dismissing sua sponte Title VII claims against individual

 defendants). The court now turns to defendants’ motion for summary

 judgment on Saaidi’s remaining claims.

 B.    Title VII Claims

 1.    Exhaustion

       “As a precondition to filing a Title VII claim in federal court, a plaintiff

 must first pursue available administrative remedies and file a timely

 complaint with the EEOC.” Deravin v. Kerik, 335 F.3d 195, 200 (2d Cir.

 2003) (citation omitted). To be timely, an EEOC complaint must “be filed ...

 within 300 days of the alleged discriminatory act.” McGullam v. Cedar

 Graphics, Inc., 609 F.3d 70, 75 (2d Cir. 2010) (citing 42 U.S.C. § 2000e-

 5(e)(1)). This timeliness requirement operates “analogous to a statute of

 limitations.” Van Zant v. KLM Royal Dutch Airlines, 80 F.3d 708, 712 (2d

 Cir. 1996). Thus, as a general rule, “only events that occurred during the

 300-day period prior to filing ... are actionable under Title VII.” Nowak v.

 EGW Home Care, Inc., 82 F. Supp. 2d 101, 106 (W.D.N.Y. 2000) (citing

 Van Zant, 80 F.3d at 712-713).

       Notably, Title VII’s limitations period does not operate to exclude

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 relevant evidence of discrimination. Rather, a plaintiff may use prior acts

 “as background evidence in support of a timely claim.” Nat’l R.R.

 Passenger Corp. v. Morgan, 536 U.S. 113, 113 (2002); see, e.g., Jute v.

 Hamilton Sundstrand Corp., 420 F.3d 166, 176-77 (2d Cir. 2005)

 (explaining that “evidence of an earlier alleged retaliatory act may

 constitute relevant background evidence in support of [a] timely claim ...

 [and] may be considered to assess liability on the timely alleged act”).

       In addition to timeliness, the exhaustion requirements also mandate

 that the claims asserted in federal court be identical or “reasonably related”

 to those filed with the EEOC. See Williams v. N.Y.C. Hous. Auth., 458 F.3d

 67, 70 (2d Cir. 2006) (per curiam). Claims are “reasonably related” in three

 situations, two of which are relevant here.

       The first situation is where “the conduct complained of would fall

 within the scope of the EEOC investigation which can reasonably be

 expected to grow out of the charge of discrimination.” Terry v. Ashcroft,

 336 F.3d 128, 151 (2d Cir. 2003) (citations and internal quotation marks

 omitted). In determining whether conduct would fall within the scope of the

 EEOC’s investigation, “the focus should be on the factual allegations made

 in the EEOC charge itself, describing the discriminatory conduct about


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 which a plaintiff is grieving.” Deravin, 335 F.3d at 201 (citations and

 internal quotation marks omitted). “The central question is whether the

 complaint filed with the EEOC gave that agency adequate notice to

 investigate discrimination on both bases.” Williams, 458 F.3d at 70

 (citation and internal quotation marks omitted). Thus, “[s]pecific factual

 allegations must be made in order for the EEOC to be able to investigate

 them reasonably.” Szarka v. Reynolds Metals Co., 17 F. Supp. 2d 115,

 124 (N.D.N.Y. 1998) (citation and internal quotation marks omitted).

       The second situation where a claim is “reasonably related” is where

 “a plaintiff alleges further incidents of discrimination carried out in precisely

 the same manner alleged in the EEOC charge.” Butts v. City of New York,

 990 F.2d 1397, 1402-03 (2d Cir. 2005). In Dunbar v. County of Saratoga,

 for instance, Judge Munson explained that a plaintiff’s claim for

 constructive discharge was not barred by her failure to include it in her

 EEOC complaint because it was “based upon, at least in part, allegations

 that plaintiff was subjected to ‘obscene, offensive, and degrading behavior,’

 which fairly describe[d] the allegations contained in her EEOC complaint.”

 358 F. Supp. 2d 115, 129 (N.D.N.Y. 2005). The same rationale applies for

 conduct alleged to have occurred after the filing of the EEOC complaint. In


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 Almendral v. N.Y. State Office of Mental Health, for example, the Second

 Circuit held that the district court erred in refusing to consider conduct

 postdating a plaintiff’s EEOC complaint where that conduct was “essentially

 the same as the earlier ... conduct contained in the ... complaint.” 743 F.2d

 963, 966 (2d Cir. 1984).

       Here, with little coherent explanation, EDIFI argues that each of

 Saaidi’s Title VII claims are barred for failure to exhaust administrative

 remedies. The court agrees as to Saaidi’s hostile work environment claim,

 but not as to her claims for retaliation and constructive discharge.

       Saaidi’s hostile work environment claim is based on the alleged

 sexually harassing conduct of Lockwood, Vaughn, and Culkin that occurred

 in February, March, and July 2006. (See Pl. Mem. of Law at 15, Dkt. No.

 29.) However, Saaidi’s EEOC charge complains of neither a hostile work

 environment, the sexually harassing behavior alleged to have occurred, or

 of any sex-based discrimination. Rather, the complaint alleges only that

 Saaidi was retaliated against after filing a sexual harassment complaint in

 August 2006, conduct wholly distinct in time and nature from that now

 complained of. Therefore, the court finds that Saaidi failed to afford the

 EEOC adequate notice of the hostile work environment claim she now


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 asserts. See, e.g., Hooda, 659 F. Supp. 2d at 390 (explaining that claim is

 not reasonably related where it “differs significantly in time and nature” from

 the allegations presented to the EEOC); Field v. Tonawanda City Sch.

 Dist., 604 F. Supp. 2d 544, 563-64 (W.D.N.Y. 2008) (same); Wiley v.

 Citibank, NA, No. 98 Civ. 1139 2000 WL 122148, *4 (S.D.N.Y. Feb. 1,

 2000) (same). Accordingly, Saaidi’s claim for hostile work environment has

 not been exhausted and is therefore dismissed.

          Saaidi’s retaliation claim, on the other hand, survives EDIFI’s

 exhaustion challenge. EDIFI confusingly argues that this claim should be

 “dismissed as untimely since the sex harassment that [it] is allegedly based

 on was not timely complained of and is remote in time.” (See Defs. Reply

 at 2, Dkt. No. 33.) This argument misses the mark. Saaidi complained to

 the EEOC of unlawful retaliation on December 13, 2007. Therefore, her

 claims of retaliation would have been timely filed as long as the retaliatory

 conduct alleged occurred no earlier than February 16, 2007, 300 days prior

 to the EEOC filing. That requirement is clearly met here since the

 retaliatory conduct alleged in the EEOC complaint occurred on or after

 August 25, 2007. Accordingly, EDIFI’s argument in this regard is without

 merit.


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       Saaidi’s constructive discharge claim also survives. As noted above,

 claims not explicitly referenced in an EEOC complaint, even those that

 accrue after the filing of the complaint, are nonetheless viable where based

 on “further incidents of discrimination carried out in precisely the same

 manner alleged in the EEOC charge.” Butts, 990 F.2d at 1402-03;

 Almendral, 743 F.2d at 966. In this case, while Saaidi’s EEOC complaint

 made no explicit reference to a constructive discharge, Saaidi did complain

 of what could reasonably be characterized as a pattern of retaliatory

 conduct aimed at forcing her resignation. Saaidi’s constructive discharge

 claim appears to rely largely on allegations of the same type of retaliatory

 practices—practices alleged to have continued after the filing of the EEOC

 complaint. Given this similarity and the seeming continuous nature of the

 conduct, the court is not persuaded by the muddled arguments presented

 that Saaidi’s claim for constructive discharge is not sufficiently related to

 her EEOC allegations. Accordingly, to the extent that EDIFI challenges

 Saaidi’s constructive discharge claim on exhaustion grounds, that

 argument is rejected at this juncture.

 2.    Retaliation

       EDIFI next argues that Saaidi has failed to establish a prima facie

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 case of retaliation. To establish a prima facie case of retaliation, Saaidi

 must show that “(1) [she] participated in a protected activity, (2) the

 defendant knew of the protected activity; (3) [she] experienced an adverse

 employment action; and (4) a causal connection exists between the

 protected activity and the adverse employment action.” Jackson v. N.Y.

 City Transit, No. 08-2021-cv, 2009 WL 3287558, at *2 (2d Cir. Oct. 14,

 2009) (citation omitted). The burden of making this showing is “minimal.”

 See Woodman v. WWOR-TV, Inc., 411 F.3d 69, 76 (2d Cir. 2005).

       EDIFI argues that Saaidi did not engage in protected activity when

 she complained of harassment in August 2006, and that she cannot show

 that she suffered an adverse employment action. EDIFI further agues that

 even if Saaidi could establish those elements, she cannot show the

 requisite causal connection. These arguments are without merit. Initially, it

 is well settled that informal protests, such as Saaidi’s complaint to

 management, qualify as “protected activity.” Sumner v. U.S. Postal Serv.,

 899 F.2d 203, 209 (2d Cir. 1990).

       Further, the court is not persuaded that Saaidi cannot establish an

 adverse employment action. To establish an “adverse employment action,”

 Saaidi must show “that a reasonable employee would have found the


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 challenged action materially adverse,” meaning “it well might have

 dissuaded a reasonable worker from making or supporting a charge of

 discrimination.” Kessler v. Westchester County Dep’t of Soc. Servs., 461

 F.3d 199, 207 (2d Cir. 2006) (citation and internal quotation marks

 omitted). In this case, Saaidi’s direct supervisor allegedly limited Saaidi’s

 access to certain sales venues and events upon her return from leave in

 August 2007, an allegation not directly refuted by EDIFI.5 The record

 indicates that Saaidi, like other sales counselors, relied heavily on such

 access to improve her sales percentages and increase her earnings and

 earning potential.6 In light of that reliance, the court finds that limiting

 Saaidi’s access could be found by a jury to deter a reasonable worker from

 making or supporting a charge of discrimination.

       And finally, the court is also satisfied that Saaidi has demonstrated a

 sufficient causal connection between her 2006 complaint and the alleged

 retaliatory conduct to survive summary judgment. EDIFI’s argument to the

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          While EDIFI seems to imply in its statement of material facts that Saaidi’s access to
 sales events was limited because of Saaidi’s low sales numbers, it does not appear to dispute
 that her access was in fact limited.
        6
        As described earlier, Saaidi “was ... paid a ‘draw’ plus ... commission based upon the
 number of sales.” (See Defs. SMF ¶ 4, Dkt. No. 25:3.) And, as EDIFI explained in its
 statement of material facts, “[i]t was a policy of EDIFI that the performance of sales counselors
 was measured by their [net sales],” and that “sales counselors with the lowest percentage of
 sales were given fewer assignments.” (Id. at ¶¶ 5, 6.)

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 contrary relies mainly on the wide temporal gap between the August 2006

 complaint and the 2007 retaliatory conduct alleged. However, Saaidi has

 alleged numerous instances of Merola engaging in retaliatory conduct

 throughout the year leading up to the conduct now at issue.7 Thus, while

 there may not be a close temporal proximity between the protected activity

 and the retaliatory action, Saaidi’s allegations of prior misconduct provide

 at least some evidence that Merola harbored retaliatory animus toward

 Saaidi for filing her complaint, and thereby afford sufficient connection at

 this stage. See DeCintio v. Westchester County Med. Ctr., 821 F.2d 111,

 115 (2d Cir. 1987) (“Proof of causal connection can be established

 indirectly by showing that the protected activity was followed closely by

 discriminatory treatment ... or directly through evidence of retaliatory

 animus directed against a plaintiff by the defendant.” (citations omitted)).

 Accordingly, EDIFI’s motion for summary judgment as to Saaidi’s Title VII

 retaliation claim is denied.

 3.    Constructive Discharge

       EDIFI also challenges the sufficiency of Saaidi’s constructive

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         As noted above, while retaliatory conduct predating August 25, 2007, may not itself be
 actionable, evidence of that conduct is nonetheless available in assessing liability on a timely
 claim. See Morgan, 536 U.S. at 113; Jute, 420 F.3d at176-77.


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 discharge claim. “Constructive discharge of an employee occurs when an

 employer, rather than directly discharging an individual, intentionally

 creates an intolerable work atmosphere that forces an employee to quit

 involuntarily.” Mack v. Otis Elevator Co., 326 F.3d 116, 128 (2d Cir. 2003)

 (citation and internal quotation marks omitted). For working conditions to

 be intolerable, they must be “so difficult or unpleasant that a reasonable

 person in the employee’s shoes would have felt compelled to resign.” Id.

 (citation and internal quotation marks omitted).

       Here, EDIFI argues that Saaidi’s allegations fail to establish that her

 working conditions were intolerable. However, the court finds that the

 conditions alleged are sufficient to survive summary judgment. As

 explained earlier, Saaidi’s claim for constructive discharge appears to rely

 largely on allegations of retaliatory exclusion from certain sales venues and

 events. Significantly, while hinting at justifications for its actions, EDIFI

 does not appear to dispute that it did indeed limit Saaidi’s access to these

 venues and events, both before and after Saaidi’s return in August 2007.

 Therefore, because it is reasonable to infer that EDIFI’s actions likely

 resulted in some loss of earnings, the court is unable to say as a matter of

 law that intolerable working conditions did not exist. See Kirsch v. Fleet


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 St., Ltd., 148 F.3d 149, 161-62 (recognizing that a reduction in an

 employee’s compensation can amount to an intolerable working condition

 and constructive discharge). Accordingly, EDIFI’s motion as to Saaidi’s

 constructive discharge claim is denied.

 C.    New York State Human Rights Law Claims

       As noted above, Saaidi has also asserted her claims for retaliation,

 constructive discharge, and hostile work environment under the NYSHRL.

 These claims are “analytically identical to claims brought under Title VII.”

 Torres v. Pisano, 116 F.3d 625, 629 n.1 (2d Cir. 1997) (citation omitted);

 see also Weinstock v. Columbia Univ., 224 F.3d 33, 42 n.1 (2d Cir. 2000)

 (“The identical standards apply to employment discrimination claims

 brought under Title VII ... [and] New York Executive Law § 296 ....”

 (citations omitted)). Therefore, for the reasons already discussed,

 summary judgment is denied as to Saaidi’s NYSHRL claims for retaliation

 and constructive discharge. And for the reasons that follow, summary

 judgement is also denied as to Saaidi’s remaining NYSHRL claim for

 hostile work environment.

       In support of its motion, EDIFI argues that Saaidi has failed to

 establish a prima facie case of hostile work environment. To establish a


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 prima facie case of hostile work environment, a plaintiff must show “(1) ...

 harassment [that] was sufficiently severe or pervasive to alter the

 conditions of the victim’s employment and create an abusive working

 environment, and (2) that a specific basis exists for imputing the

 objectionable conduct to the employer.” Alfano v. Costello, 294 F.3d 365,

 374 (2d Cir. 2002) (citation and internal quotation marks omitted)

       Here, EDIFI argues that summary judgment is warranted as to

 Saaidi’s hostile work environment claim because the harassment alleged is

 not “sufficiently severe or pervasive,” and because EDIFI is nonetheless

 shielded from liability under the Faragher/Ellerth defense since “[it]

 undertook a reasonable investigation of [Saaidi’s] [c]omplaints when they

 were made.” (See Defs. Mem. of Law at 16, Dkt. No. 25:32; (citing

 Faragher v. City of Boca Raton, 524 U.S. 775 (1998) and Burlington Indus.,

 Inc. v. Ellerth, 524 U.S. 742 (1998)).) The court disagrees.

       As to the harassment alleged, the court is satisfied that Saaidi’s

 allegations, in light of all the circumstances, are minimally sufficient to

 survive summary judgment. And because the court discerns questions of

 fact central to EDIFI’s entitlement to the Faragher/Ellerth defense, including

 the reasonableness of EDIFI’s investigation of Saaidi’s complaints, it finds


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 that summary judgment is similarly unwarranted on Faragher/Ellerth

 grounds. See Sassaman v. Gamache, 566 F.3d 307, 314-315 (2d Cir.

 2009) (explaining that a court may consider an employer’s failure to

 conduct an adequate investigation or to undertake an appropriate response

 as evidence of discrimination or liability). Accordingly, EDIFI’s motion as to

 Saaidi’s NYSHRL claim is denied.

                                V. Conclusion

       WHEREFORE, for the foregoing reasons, it is hereby

       ORDERED that EDIFI’s motion to dismiss (Dkt. No. 25) is DENIED;

 and it is further

       ORDERED that Saaidi’s Title VII claims against John Braat are

 DISMISSED; and it is further

       ORDERED that EDIFI’s motion for summary judgment (Dkt. No. 25)

 is GRANTED insofar as the claims brought under the Administrative Code

 of the City of Albany are DISMISSED; and it is further

       ORDERED that EDIFI’s motion for summary judgment (Dkt. No. 25)

 is GRANTED insofar as Saaidi’s Title VII claims for hostile work

 environment are DISMISSED; and it is further

       ORDERED that EDIFI’s motion for summary judgment (Dkt. No. 25 )

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 is otherwise DENIED; and it is further

      ORDERED that the Clerk provide a copy of this Memorandum-

 Decision and Order to the parties.

 IT IS SO ORDERED.

 September 17, 2010
 Albany, New York




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